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                   EXHIBIT C
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         Original Investigation | Substance Use and Addiction

         Association of Pharmaceutical Industry Marketing of Opioid
         Products With Mortality From Opioid-Related Overdoses
         Scott E. Hadland, MD, MPH, MS; Ariadne Rivera-Aguirre, MPP; Brandon D. L. Marshall, PhD; Magdalena Cerdá, DrPH, MPH



         Abstract                                                                                                                Key Points
                                                                                                                                 Question To what extent is
         IMPORTANCE Prescription opioids are involved in 40% of all deaths from opioid overdose in the
                                                                                                                                 pharmaceutical industry marketing of
         United States and are commonly the first opioids encountered by individuals with opioid use
                                                                                                                                 opioids to physicians associated with
         disorder. It is unclear whether the pharmaceutical industry marketing of opioids to physicians is
                                                                                                                                 subsequent mortality from prescription
         associated with mortality from overdoses.
                                                                                                                                 opioid overdoses?

         OBJECTIVE To identify the association between direct-to-physician marketing of opioid products by                       Findings In this population-based,
         pharmaceutical companies and mortality from prescription opioid overdoses across US counties.                           cross-sectional study, $39.7 million in
                                                                                                                                 opioid marketing was targeted to 67 507
         DESIGN, SETTING, AND PARTICIPANTS This population-based, county-level analysis of industry                              physicians across 2208 US counties
         marketing information used data from the Centers for Medicare & Medicaid Services Open Payments                         between August 1, 2013, and December
         database linked with data from the Centers for Disease Control and Prevention on opioid prescribing                     31, 2015. Increased county-level opioid
         and mortality from overdoses. All US counties were included, with data on overdoses from August                         marketing was associated with elevated
         1, 2014, to December 31, 2016, linked to marketing data from August 1, 2013, to December 31, 2015,                      overdose mortality 1 year later, an
         using a 1-year lag. Statistical analyses were conducted between February 1 and June 1, 2018.                            association mediated by opioid
                                                                                                                                 prescribing rates; per capita, the number
         MAIN OUTCOMES AND MEASURES County-level mortality from prescription opioid overdoses,                                   of marketing interactions with
         total cost of marketing of opioid products to physicians, number of marketing interactions, opioid                      physicians demonstrated a stronger
         prescribing rates, and sociodemographic factors.                                                                        association with mortality than the
                                                                                                                                 dollar value of marketing.
         RESULTS Between August 1, 2013, and December 31, 2015, there were 434 754 payments totaling
                                                                                                                                 Meaning The potential role of
         $39.7 million in nonresearch-based opioid marketing distributed to 67 507 physicians across 2208
                                                                                                                                 pharmaceutical industry marketing in
         US counties. After adjustment for county-level sociodemographic factors, mortality from opioid
                                                                                                                                 contributing to opioid prescribing and
         overdoses increased with each 1-SD increase in marketing value in dollars per capita (adjusted relative
                                                                                                                                 mortality from overdoses merits
         risk, 1.09; 95% CI, 1.05-1.12), number of payments to physicians per capita (adjusted relative risk, 1.18;
                                                                                                                                 ongoing examination.
         95% CI, 1.14-1.21, and number of physicians receiving marketing per capita (adjusted relative risk, 1.12;
         95% CI, 1.08-1.16). Opioid prescribing rates also increased with marketing and partially mediated the
         association between marketing and mortality.                                                                          + Invited Commentary
         CONCLUSIONS AND RELEVANCE In this study, across US counties, marketing of opioid products to
                                                                                                                               + Supplemental content and Audio
                                                                                                                               Author affiliations and article information are
         physicians was associated with increased opioid prescribing and, subsequently, with elevated                          listed at the end of this article.
         mortality from overdoses. Amid a national opioid overdose crisis, reexamining the influence of the
         pharmaceutical industry may be warranted.

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         Introduction
         Mortality from opioid-related overdoses continues to increase in the United States.1 Although heroin
         and illicitly manufactured fentanyl citrate have contributed to an increasing number of overdoses in
         many settings, prescription opioids are involved in 40% of all opioid overdoses2 and are frequently
         the first opioids that individuals encounter before subsequently transitioning to the use of illicit
         opioids.3 Physician prescribers are the most frequent source of prescription opioids for individuals
         who use opioids nonmedically.4 Despite an overall reduction in opioid prescribing in the United
         States since 2010, current prescribing rates remain 3 times higher than in 1999 and have not
         decreased as rapidly in regions experiencing high levels of mortality from opioid-related
         overdoses.5,6 Therefore, a central strategy of the national response to the overdose crisis has been
         to reduce the number of opioids prescribed by physicians.7
              The potential influence of the pharmaceutical industry on opioid prescribing and mortality from
         overdoses has received substantial recent attention in the lay media.8 Direct-to-physician marketing
         by pharmaceutical companies is widespread in the United States and is associated with increased
         prescribing of the marketed products.9-11 Between 2013 and 2015, approximately 1 in 12 US
         physicians received opioid-related marketing; this proportion was even higher for family physicians,
         among whom 1 in 5 received opioid-related marketing.12 A prior study found that, among physicians
         providing care to Medicare patients, marketing was associated with increased prescribing of
         opioids.11 However, it is unclear to what extent such marketing may be associated nationally with
         opioid prescribing and, consequently, with deaths from overdoses.
              Prior research demonstrates that the introduction and marketing of opioid products may be
         associated with subsequent mortality from overdoses.13-15 However, to our knowledge, no prior
         studies have examined mortality from prescription opioid overdoses in association with total
         marketing of opioid products. Drawing on recent US county-level data, we sought to conduct
         preliminary analyses into the extent to which opioid marketing is associated with subsequent
         prescribing and, in turn, with opioid-related deaths from overdoses. We hypothesized that counties
         receiving more marketing subsequently experience a higher rate of deaths from prescription opioid
         overdoses and that this association is mediated by an increase in county opioid prescribing rates.


         Methods
         The study was approved by the Brown University Institutional Review Board. Patient consent was
         waived as the data on overdoses were deidentified and the data on pharmaceutical company
         payments and county-level prescribing rates were publicly available. The study followed the
         Strengthening the Reporting of Observational Studies in Epidemiology (STROBE) reporting guideline.16


         Data Sources
         We linked county-level information from August 1, 2013, to December 31, 2016, across 3 national
         databases. From the first data source, the Centers for Disease Control and Prevention Wide-Ranging
         Online Data for Epidemiological Research Restricted-Use Mortality Files, we extracted data on deaths
         from overdoses for all counties in all 50 states and the District of Columbia.6 Consistent with national
         definitions,1 we identified deaths from prescription opioid drug overdoses using the International
         Statistical Classification of Diseases and Related Health Problems, Tenth Revision underlying cause-of-
         death codes for unintentional overdose (codes X40-X44), suicide by drug self-poisoning (codes
         X60-X64), homicide by drug poisoning (code X85), and deaths of undetermined intent (codes
         Y10-Y14) involving prescription opioids (codes T40.2-T40.4).
              From the second data source, the Centers for Medicare & Medicaid Services Open Payments
         database, we extracted every transfer of value (“payment”) in marketing from a pharmaceutical
         company to a physician as mandated by the recent Physician Payments Sunshine Act.17 Each entry in
         the Open Payments database includes the monetary value of the payment in dollars, the



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         medication(s) being marketed, the type of marketing (ie, meals, travel costs, speaking fees,
         honoraria, consulting fees, or educational costs), and the physician practice location. Practice
         locations were geocoded to determine their county (Geolytics Inc). We extracted data for all
         payments that included a US Food and Drug Administration–approved opioid product listed by brand
         or generic name.18 We included only nonresearch marketing because research payments are often
         made to support clinical trials and are frequently provided to nonpracticing physician researchers.
              From a third database, available from the Centers for Disease Control and Prevention National
         Center for Injury Prevention and Control, we extracted data on opioid prescribing rates (including
         initial prescriptions and refills) dispensed at retail pharmacies.19 Prescribing rates were available for
         87% to 94% of counties across years; we used multiple imputation methods to generate prescribing
         rates for counties in which data were missing.


         Variables
         The primary outcome was the county-level annual death counts from prescription opioid overdoses
         with a population offset. The primary exposure was county-level annual pharmaceutical company
         opioid marketing to physicians, which we defined in the following 3 ways: (1) marketing value in
         dollars per 1000 county population, (2) number of payments to physicians per 1000 county
         population, and (3) number of physicians receiving marketing per 1000 county population. To obtain
         annual mean values for opioid marketing, we extrapolated from the final 5 months of 2013 (because
         data were available only for August onward for 2013) and used full-year data for 2014 and 2015. We
         also examined the role of county-level annual opioid prescribing rates per 100 population as a
         potential mediator of the association between opioid marketing and mortality from prescription
         opioid overdoses.
              Covariates included time-varying, county-level sociodemographic characteristics, including
         county composition according to sex (percentage of individuals in a county who were classified as
         male), age (mean in years), race/ethnicity (classified according to the race/ethnicity exceeding 50%
         of the county composition, with counties not exceeding this cutoff classified as “mixed” counties),
         unemployment (expressed as a percentage), median household income (expressed in thousands of
         US dollars), poverty (percentage of adult population living below the federal poverty limit),
         educational level (percentage of population aged ⱖ25 years without education beyond high school),
         and Gini index of income inequality (ranging from 0, representing perfect income equality [ie, all
         incomes within a county are the same], to 1, representing perfect inequality [ie, 1 individual within a
         county holds all the county’s income, and all others in the same county have no income]) from the US
         Census Bureau American Community Survey,20-23 as well as metropolitan or nonmetropolitan
         location from the US Department of Agriculture 2013 Rural-Urban Continuum Codes classification
         scheme.24 Covariates were selected based on prior literature highlighting their association with
         deaths from overdoses; in particular, data demonstrate that mortality from overdoses is elevated in
         regions with greater economic distress (ie, higher unemployment, lower median household income,
         greater poverty, lower educational level, and greater income inequality).25


         Statistical Analysis
         Statistical analyses were conducted between February 1 and June 1, 2018. We used negative binomial
         regression to measure longitudinal associations between opioid marketing and mortality rates from
         prescription opioid overdoses across counties. The negative binomial model was selected to address
         overdispersion among mortality rates; this approach provides effect sizes ranging from greater than
         0 to infinity, with confidence intervals that do not overlap with unity representing a statistically
         significant finding.26 We introduced a 1-year lag between mortality rates and marketing to address
         the possibility of reverse causality by ensuring that marketing of opioids to physicians preceded
         observed mortality rates. We estimated separate models using each of the 3 measures of opioid
         marketing described as the exposure of interest. Multivariable analyses were adjusted for all the



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         county-level sociodemographic covariates described. All models used robust SEs clustered at the
         county level, with the natural log-transformed population as the offset variable.
              We conducted a mediation analysis to identify whether county-level opioid prescribing was an
         intermediate in the lagged cross-sectional association between marketing of opioids to physicians
         and mortality from overdoses.27 We first measured the association between each of the opioid
         marketing measures and prescribing rates using censored regression Tobit models. Tobit models,
         which estimate linear associations in which the dependent variable is left or right censored, were
         selected to address the large number of county prescribing rates with fewer than 15 prescriptions per
         100 population.28 As in ordinary least-squares linear regression, Tobit models provide effect sizes
         ranging from negative infinity to positive infinity, and confidence intervals that do not overlap with 0
         represent a statistically significant finding. A 1-year lag was introduced between prescribing rates and
         marketing. All models were adjusted for county-level sociodemographic covariates. Using adjusted
         effect sizes of the association between opioid marketing and mortality from prescription opioid
         overdoses obtained from the negative binomial regression models described, we used the paramed
         command in Stata, version 15.1 (StataCorp) to estimate the natural indirect (mediated) association of
         opioid prescribing and total (unmediated) direct association of opioid marketing with mortality from
         overdoses.27 We calculated percentage mediation as follows: % medication = [ln (natural indirect
         effect)/ln (total effect)] × 100.
              Finally, we used multiple imputation to generate estimates for prescribing rates in counties in
         which data were missing (ranging from 6% to 13% of all counties across study years). Using predictive
         mean matching and specifying sequential chained equations, we created 20 data sets in which
         missing county prescribing rates were imputed. We then repeated the multivariable Tobit model
         linking opioid marketing to opioid prescribing rates across counties using the 20 complete data sets.
         The mediation analysis was also repeated for all 20 complete data sets. Results of analyses were
         pooled according to the Rubin rules.29
              We conducted data management using Tableau Desktop, version 10.0 (Tableau Software) and
         analyses using Stata, version 15.1. We computed adjusted relative risk (aRR) ratios and 95% CIs by
         exponentiating parameter estimates. All 95% CIs were calculated using SEs clustered at the county
         level. All statistical tests were 2-sided and considered significant at P < .05.


         Results
         In this population-based cross-sectional study, we found that, between August 1, 2013, and
         December 31, 2015, there were 434 754 payments totaling $39.7 million in nonresearch-based opioid
         marketing distributed to 67 507 physicians across 2208 US counties. The Figure displays the
         mortality rates from prescription opioid overdoses across US counties, the marketing value in dollars
         per 1000 county population, the number of payments to physicians per 1000 county population,
         and the number of physicians receiving opioid marketing per 1000 county population. The
         characteristics of the counties receiving marketing in comparison with those receiving no marketing
         are shown in eTable 1 in the Supplement.
              Table 1 displays the per capita prescription opioid marketing costs, the opioid prescribing rates,
         and the mortality rates from prescription opioid overdoses according to county-level covariates.20-23
         Overall, the mean (SD) overdose mortality rate was 7.4 (9.0) per 100 000 person-years across
         counties. The mean (SD) marketing cost per county was valued at $1.57 ($5.29) per 1000 individuals
         and accounted for a mean (SD) of 0.03 (0.04) payments per 1000 individuals distributed to a mean
         (SD) of 0.01 (0.01) physicians per 1000 individuals. Opioid marketing dollars were most highly
         concentrated in counties with a lower percentage of individuals aged 65 years or younger and where
         the race/ethnicity composition was mixed; payments were also concentrated in counties marked by
         a higher prevalence of high school completion, greater unemployment, lower poverty, higher median
         household income, lower income inequality, and metropolitan location. The Northeast had the




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         highest concentration of opioid marketing among US Census regions, and the Midwest had
         the lowest.
              Table 2 shows the association between opioid marketing and subsequent deaths from
         prescription opioid overdoses across counties.20-23 After adjustment for county-level covariates,
         overdose mortality was significantly associated with all 3 measures of opioid marketing. The greatest
         effect size was observed for the number of payments per capita, and the smallest effect size was
         observed for the marketing value in dollars per capita; mortality from opioid overdoses increased
         with each 1-SD increase in marketing value in dollars per capita (aRR, 1.09; 95% CI, 1.05-1.12), number
         of payments to physicians per capita (aRR, 1.18; 95% CI, 1.14-1.21), and number of physicians receiving
         marketing per capita (aRR, 1.12; 95% CI, 1.08-1.16). Overdose mortality was also significantly
         associated with all county-level covariates except for being aged 65 years or older.
              Table 3 displays the association between opioid marketing and subsequent opioid prescribing
         rates across counties.20-23 After adjustment for county-level covariates, opioid prescribing rates were
         significantly associated with all 3 measures of opioid marketing. As for mortality rates from
         prescription opioid overdoses, the greatest effect size in association with opioid prescribing rates
         was observed for the number of payments per capita, and the smallest effect size was observed for



         Figure. Mortality Rates From Prescription Opioid Overdoses in 2014-2016 and Marketing of Opioids by Pharmaceutical Companies to Physicians in 2013-2015

                 A Mean mortality rate from prescription opioid overdoses across            B   Marketing value in dollars (2013-2015)
                     US counties (2014-2016)




                                                                                             Amount paid monthly, $ per
                 Mortality rate per 100 000                                                  1000 county population
                     0                                                                          0
                     0.1-3.5                                                                    0.1-0.14
                     3.6-6.2                                                                    0.15-0.37
                     6.3-10.7                                                                   0.38-0.88
                     10.8-374.5                                                                 0.89-70.68


                 C   Payments to physicians (2013-2015)                                     D Physicians receiving marketing (2013-2015)




                 No. of monthly payments                                                     No. of physicians paid monthly
                 per 1000 county population                                                  per 1000 county population
                     0                                                                          0
                     0.001-0.009                                                                0.01-0.08
                     0.010-0.022                                                                0.09-0.14
                     0.023-0.044                                                                0.15-0.22
                     0.045-0.361                                                                0.23-1.64




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         the marketing value in dollars per capita. Opioid prescribing rates increased with each 1-SD increase
         in marketing value in dollars per capita (aRR, 1.82; 95% CI, 1.00-2.65), number of payments per capita
         (aRR, 13.59; 95% CI, 11.48-15.71), and number of physicians receiving marketing per capita (aRR,
         11.08; 95% CI, 9.31-12.86). Overdose mortality was also significantly associated with all county-level
         covariates except for the age ranges of 18 to 34 years and 35 to 64 years (for 2 of 3 marketing
         measures), educational level, and poverty.



         Table 1. Characteristics of Counties Receiving Opioid Marketing During 2013-2015 and Subsequent Opioid Prescribing and Mortality From Overdoses
         During 2014-2016a
                                                                                                                                                                          Overdose Mortality
                                                 Total Cost of Marketing,     Total No. of Payments,         No. of Physicians With         Opioid Prescribing Rate,      Rate, per 100 000
                                                 $ per 1000 Population,       per 1000 Population,           ≥1 Payment, per 1000           per 100 Population,           Person-Years,
             Characteristic                      Mean (SD)                    Mean (SD)                      Population, Mean (SD)          Mean (SD)                     Mean (SD)
             All counties receiving marketing    1.57 (5.29)                  0.03 (0.04)                    0.01 (0.01)                    90.0 (42.8)                   7.4 (9.0)
             Age
               <15% aged >65 y (n = 1003)        2.36 (6.16)                  0.04 (0.04)                    0.01 (0.01)                    85.8 (39.4)                   7.4 (8.5)
               ≥15% aged >65 y (n = 1205)        1.49 (5.38)                  0.04 (0.04)                    0.02 (0.01)                    93.6 (45.1)                   7.5 (9.3)
             Race/ethnicityb
               White non-Hispanic (n = 1983)     1.88 (5.92)                  0.04 (0.04)                    0.01 (0.01)                    91.3 (41.9)                   7.7 (9.1)
               Black non-Hispanic (n = 67)       1.11 (2.19)                  0.04 (0.04)                    0.01 (0.01)                    96.9 (51.9)                   3.9 (8.6)
               Hispanic (n = 44)                 1.36 (5.53)                  0.02 (0.02)                    0.007 (0.005)                  63.2 (22.7)                   4.6 (7.4)
               Other (n = 11)c                   2.54 (4.58)                  0.02 (0.01)                    0.07 (0.003)                   38.6 (25.7)                   3.8 (4.6)
               Mixed (n = 103)d                  3.11 (4.72)                  0.04 (0.03)                    0.01 (0.01)                    76.2 (51.2)                   6.4 (6.9)
             High school completion
               Low (<85%) (n = 945)              1.23 (4.22)                  0.03 (0.04)                    0.01 (0.01)                    104.0 (51.1)                  7.7 (10.4)
               High (≥85%) (n = 1263)            2.37 (6.58)                  0.04 (0.04)                    0.02 (0.01)                    79.5 (31.5)                   7.3 (7.7)
             Unemployment
               Low (<5%) (n = 140)               0.98 (2.41)                  0.04 (0.04)                    0.02 (0.02)                    65.4 (34.3)                   3.7 (5.9)
               High (≥5%) (n = 2068)             1.97 (5.91)                  0.04 (0.04)                    0.01 (0.01)                    91.7 (42.8)                   7.7 (9.1)
             Poverty
               Low (<10%) (n = 370)              2.65 (7.32)                  0.04 (0.04)                    0.01 (0.01)                    65.1 (27.6)                   6.2 (6.9)
               High (≥10%) (n = 1838)            1.77 (5.41)                  0.04 (0.04)                    0.01 (0.01)                    95.0 (43.6)                   7.7 (9.3)
             Median household income
               Low (<$60 000) (n = 1922)         1.70 (5.49)                  0.04 (0.04)                    0.01 (0.01)                    93.9 (43.9)                   7.5 (9.3)
               High (≥$60 000) (n = 286)         3.20 (7.18)                  0.04 (0.03)                    0.01 (0.01)                    63.7 (20.3)                   7.2 (6.5)
             Income inequalitye
               Low (Gini coefficient <0.4)       2.04 (5.99)                  0.04 (0.04)                    0.01 (0.01)                    92.4 (43.3)                   6.1 (7.1)
               (n = 242)
               High (Gini coefficient ≥0.4)      0.92 (3.50)                  0.03 (0.03)                    0.01 (0.01)                    69.81 (31.7)                  7.6 (9.2)
               (n = 1966)
             Metropolitan area
               Metropolitan (n = 1033)           2.81 (6.63)                  0.04 (0.04)                    0.01 (0.01)                    82.5 (34.6)                   8.0 (8.6)
               Nonmetropolitan (n = 1175)        0.94 (4.50)                  0.03 (0.04)                    0.01 (0.01)                    96.6 (47.9)                   6.9 (9.3)
             Census region
               South (n = 1042)                  1.86 (5.48)                  0.04 (0.04)                    0.01 (0.01)                    104.2 (48.4)                  8.4 (10.4)
               Midwest (n = 679)                 1.55 (6.31)                  0.04 (0.04)                    0.02 (0.01)                    79.7 (35.1)                   5.5 (7.0)
               West (n = 280)                    1.66 (4.43)                  0.03 (0.03)                    0.01 (0.01)                    80.3 (30.6)                   6.9 (7.0)
               Northeast (n = 207)               3.54 (6.74)                  0.04 (0.04)                    0.01 (0.01)                    66.1 (19.1)                   9.8 (8.2)
         a                                                                                             e
             N = 2208; counties that did not receive any pharmaceutical industry marketing are not         Gini index of income inequality ranges from 0, representing perfect income equality (ie,
             included.                                                                                     all incomes within a county are the same), to 1, representing perfect inequality (ie, 1
         b
             Classified according to race/ethnicity exceeding 50% of the county composition.               individual within a county holds all the county’s income, and all others in the same
         c                                                                                                 county have no income).20-23
             Other counties are those with 50% of individuals or more identified as non-Hispanic
             Asian, American Indian or Alaskan Native, or Pacific Islander.
         d
             Mixed counties are those that did not meet a 50% threshold for white, black, Hispanic,
             or other (non-Hispanic Asian, American Indian or Alaskan Native, or Pacific Islander)
             race/ethnicity.


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              Table 4 shows the results of the mediation analysis to determine whether opioid prescribing
         rates were a potential mediator of the association between opioid marketing and mortality rates
         from prescription opioid overdoses. The strongest mediating effects were observed for the number
         of physicians who received payments, and the smallest effect size was observed for the marketing
         value in dollars per capita. Prescribing rates mediated 3% of the association between opioid
         marketing and mortality from overdoses in terms of value in dollars per capita, 11% of the association
         between opioid marketing and mortality from overdoses in terms of number of payments per capita,
         and 26% of the association between opioid marketing and mortality from overdoses in terms of



         Table 2. Association of Pharmaceutical Company Opioid Marketing With Prescription Opioid Overdose Deaths
         Across All US Countiesa

                                                 aRR (95% CI)b
         Characteristic                          Model A                      Model B                 Model C
         Marketing value, $ per 1000             1.09 (1.05-1.12)             NA                      NA
         population per year
         No. of payments, per 1000               NA                           1.18 (1.14-1.21)        NA
         population per year
         No. of physicians receiving payments, NA                             NA                      1.12 (1.08-1.16)
         per 1000 population per year                                                                                             Abbreviations: aRR, adjusted relative risk; NA, not
         Age group, %                                                                                                             applicable.
                                                                                                                                  a
            18-34 y                              1.05 (1.03-1.07)             1.04 (1.02-1.06)        1.05 (1.03-1.06)                N = 9398 county-years for each analysis.
                                                                                                                                  b
            35-64 y                              1.10 (1.07-1.12)             1.09 (1.07-1.12)        1.09 (1.07-1.12)                Model A includes marketing value (in dollars) as the
            ≥65 y                                1.01 (0.99-1.02)             1.01 (0.99-1.02)        1.01 (1.00-1.03)                independent variable, model B includes number of
                                                                                                                                      payments as the independent variable, and model C
         Male, %                                 0.93 (0.91-0.95)             0.94 (0.92-0.96)        0.94 (0.92-0.96)
                                                                                                                                      includes number of physicians receiving payments
         White, %                                1.01 (1.01-1.02)             1.01 (1.01-1.02)        1.01 (1.01-1.02)
                                                                                                                                      as the independent variable. Each model also
         High school or lower education, %       1.00 (1.00-1.01)             1.00 (1.00-1.01)        1.00 (1.00-1.01)                includes all other covariates listed in the table.
         Unemployment, %                         1.03 (1.01-1.04)             1.03 (1.02-1.05)        1.03 (1.01-1.04)            c
                                                                                                                                      Gini index of income inequality ranges from 0,
         Poverty, %                              1.03 (1.01-1.04)             1.03 (1.01-1.04)        1.03 (1.01-1.04)                representing perfect income equality (ie, all incomes
         Median household income ($1000)         1.00 (1.00-1.01)             1.00 (1.00-1.01)        1.00 (1.00-1.01)                within a county are the same), to 1, representing
         Gini indexc                             1.01 (1.00-1.02)             1.00 (1.00-1.02)        1.01 (1.00-1.02)                perfect inequality (ie, 1 individual within a county
                                                                                                                                      holds all the county’s income, and all others in the
         Metropolitan area                       1.21 (1.11-1.31)             1.13 (1.04-1.22)        1.20 (1.10-1.30)
                                                                                                                                      same county have no income).20-23


         Table 3. Association of Pharmaceutical Company Opioid Marketing With Opioid Prescribing Rates
         (per 100 Population) Across US Countiesa

                                       aRR (95% CI)b
         Characteristic                Model A                      Model B                      Model C
         Marketing value, $ per        1.82 (1.00 to 2.65)          NA                           NA
         1000 population per year
         No. of payments, per 1000 NA                               13.59 (11.48 to 15.71)       NA
         population per year
         No. of physicians receiving NA                             NA                           11.08 (9.31 to 12.86)
         payments, per 1000                                                                                                       Abbreviations: aRR, adjusted relative risk; NA, not
         population per year                                                                                                      applicable.
         Age group, %                                                                                                             a
                                                                                                                                      N = 8885 county-years for each analysis; opioid
            18-34 y                    1.10 (0.23 to 1.97)          0.64 (−0.17 to 1.44)         0.70 (−0.13 to 1.53)                 prescribing rates were missing for 513
            35-64 y                    1.82 (0.90 to 2.75)          1.52 (0.75 to 2.30)          1.58 (0.73 to 2.43)                  county-years (5.8%).
            ≥65 y                      −1.78 (−2.52 to −1.04)       −1.70 (−2.39 to −1.00)       −1.86 (−2.58 to −1.14)           b
                                                                                                                                      Model A includes marketing value (in dollars) as the
         Male, %                       −4.70 (−5.84 to −3.56)       −3.78 (−4.68 to −2.89)       −4.04 (−5.05 to −3.03)               independent variable, model B includes number of
         White, %                      0.65 (0.54 to 0.76)          0.54 (0.43 to 0.65)          0.60 (0.49 to 0.71)                  payments as the independent variable, and model C
                                                                                                                                      includes number of physicians receiving payments
         High school or lower          −0.08 (−0.30 to 0.14)        0.07 (−0.14 to 0.28)         0.04 (−0.17 to 0.25)
         education, %                                                                                                                 as the independent variable. Each model also
         Unemployment, %               2.73 (2.10 to 3.35)          2.40 (1.80 to 2.99)          2.56 (1.96 to 3.16)                  includes all other covariates listed in the table.
                                                                                                                                  c
         Poverty, %                    0.02 (−0.59 to 0.63)         0.30 (−0.27 to 0.87)         0.17 (−0.41 to 0.75)                 Gini index of income inequality ranges from 0,
                                                                                                                                      representing perfect income equality (ie, all incomes
         Median household income       −1.01 (−1.29 to −0.73)       −0.89 (−1.14 to −0.64)       −0.98 (−1.24 to −0.72)
         ($1000)                                                                                                                      within a county are the same), to 1, representing
         Gini indexc                   1.39 (0.76 to 2.01)          0.89 (0.30 to 1.48)          0.90 (0.30 to 1.50)                  perfect inequality (ie, 1 individual within a county
                                                                                                                                      holds all the county’s income, and all others in the
         Metropolitan area             −4.85 (−8.76 to −0.94)       −8.04 (−11.59 to −4.48)      −9.49 (−13.41 to −5.575)
                                                                                                                                      same county have no income).20-23


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         number of physicians receiving marketing per capita. Findings were consistent in sensitivity analyses
         in which multiple imputation was used to generate values for counties missing data on opioid
         prescribing (eTables 2-4 in the Supplement).


         Discussion
         In this national study of the association between pharmaceutical company marketing of opioids to
         physicians and deaths from prescription opioid overdoses, we found that counties receiving such
         marketing subsequently experienced elevated mortality. In addition, opioid prescribing rates were
         strongly associated with the burden of opioid marketing across counties and partly mediated the
         association between marketing and deaths from opioid overdoses. These findings held for multiple
         different measures of opioid marketing across counties, including the total dollar amount of
         marketing received, the number of payments made per capita, and the number of physicians
         receiving any marketing per capita.
                  Our study adds to recent literature suggesting that pharmaceutical company marketing of
         specific products may be associated with increased prescribing of those medications.9,10 Recent data
         suggest that when physicians receive opioid marketing, they subsequently prescribe more opioids.11
         We build on prior studies, however, by identifying an association of opioid marketing with deaths
         from opioid overdoses. Although there remains the possibility of reverse causality—that is, that
         counties with high opioid prescribing rates and already experiencing elevated mortality from
         overdoses are subsequently targeted by pharmaceutical company marketing—it is potentially
         concerning that physicians in such counties would receive further marketing for opioids.
                  The pharmaceutical industry invests tens of millions of dollars annually in direct-to-physician
         marketing of opioids,12 and it is improbable that companies would provide payments to physicians if
         such marketing did not either increase prescribing rates or maintain high levels of opioid prescribing.
         Although we were able to examine data only from 2013 onwards, substantial attention has been
         focused on the extent to which pharmaceutical companies’ marketing practices may have
         contributed to the early stages of the opioid overdose crisis, during which time prescription opioids
         were in oversupply and were the most common cause of deaths from opioid overdoses.30 Today,
         opioid-related overdoses in the United States increasingly involve heroin, illicitly manufactured
         fentanyl, and numerous other substances such as alcohol, benzodiazepines, and cocaine.2,31
         Nonetheless, the United States continues to vastly exceed the rest of the developed world in opioid
         prescribing, and many individuals with opioid use disorder are first introduced to opioids through a
         prescription.3,4 Our findings suggest that direct-to-physician opioid marketing may counter current
         national efforts to reduce the number of opioids prescribed7 and that policymakers might consider
         limits on these activities as part of a robust, evidence-based response to the opioid overdose
         epidemic in the United States.
                  There have been calls for limits on drug company marketing to physicians,32 which may reduce
         unnecessary prescribing.33 New Jersey, for example, recently passed a regulation to limit total



         Table 4. Mediation Analysis of Opioid Prescribing Rate as an Intermediate in the Association Between Pharmaceutical Company Opioid Marketing and Mortality
         From Prescription Opioid Overdoses Across US Counties

             Characteristic                                                       Natural Direct Effect (95% CI)a    Natural Indirect Effect (95% CI)b   Total Effect (95% CI)    % Mediated
             Marketing value, $ per 1000 population per year                      1.43 (1.36-1.50)                   1.01 (1.01-1.02)                    1.44 (1.37-1.52)         3
             No. of payments, per 1000 population per year                        1.50 (1.44-1.56)                   1.05 (1.04-1.06)                    1.57 (1.51-1.64)         11
             No. of physicians receiving payments, per 1000 population            1.22 (1.16-1.28)                   1.07 (1.06-1.09)                    1.31 (1.25-1.37)         26
             per year
         a
             Natural direct effect measures the expected increase in deaths from prescription             prescribing rates change to whatever value they would have attained (for each county)
             opioid overdoses as opioid marketing increases while setting prescribing rates to the        with an increase in opioid marketing.
             value they would have attained before opioid marketing increased.
         b
             Natural indirect effect measures the expected increase in deaths from prescription
             opioid overdoses when opioid marketing is held constant at its baseline level and


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         payments to physicians at $10 000 annually.34 However, we found that the number of promotional
         payments made and the number of physicians receiving payments may have more of an association
         with county-level opioid prescribing rates and, in turn, with mortality from opioid overdoses than
         the dollar value of marketing. Because most marketing interactions with physicians involve meals
         that typically have a low monetary value,35 a high dollar cap would affect only a minority of
         prescribers who exceed this amount.11 As evidence mounts that industry-sponsored meals
         contribute to increased prescribing,9-11 data suggest that the greatest influence of pharmaceutical
         companies may be subtle and widespread, manifested through payments of low monetary value
         occurring on a very large scale.


         Limitations
         This study has several limitations. First, as outlined earlier, our findings demonstrate associations
         between opioid marketing and subsequent prescribing and mortality from overdoses; we cannot
         exclude reverse causation. Nonetheless, we build on prior cross-sectional marketing studies by
         lagging marketing from prescribing and deaths from overdoses.9,10 Second, although we examine the
         outcome of deaths related to prescription opioid overdoses, many of these deaths also include the
         involvement of heroin, fentanyl, or other highly potent opioids, as well as other substances such as
         alcohol, benzodiazepines, or cocaine.2,31 Our analyses do not examine the larger outcome of all
         deaths related to opioid overdoses (ie, including heroin, fentanyl, and other highly potent illicit opioid
         analogs), nor do they explicitly examine associations between marketing and polysubstance
         use–related deaths, which should be areas for future research. In addition, the data sources used do
         not allow for the differentiation between opioids that are prescribed and those that are illicitly
         acquired. Third, because systematic data on marketing have only recently become available, we were
         unable to examine long-term trends. The potential effects of marketing on opioid prescribing and
         deaths from overdoses are likely to be the result of repeated industry interactions occurring over
         many years; the potential cumulative effect of marketing should be the subject of future studies.
         Fourth, with the measures of opioid prescribing used, we are unable to distinguish appropriate opioid
         prescribing from potentially inappropriate prescribing. Similarly, the Open Payments database does
         not include further information on the nature of industry-physician interactions; it is possible that
         some industry payments to physicians resulted in improved knowledge around safe prescribing
         practices.36


         Conclusions
         Prescription opioids continue to contribute to more than 17 000 deaths from overdoses annually in
         the United States.2 Amid a worsening opioid crisis, our results suggest that industry marketing to
         physicians may run counter to current efforts to curb excessive opioid prescribing. Policymakers
         should continue to consider limiting the extent to which pharmaceutical companies may contribute
         to inappropriate opioid prescribing while balancing the need for access to opioids for patients who
         need them. Pharmaceutical companies might also consider, as one manufacturer recently did,37
         voluntarily ceasing marketing of opioid products directly to physicians. Professional medical
         organizations and licensing boards should continue to support education to help physicians prescribe
         opioids appropriately and consider the use of nonpharmacologic and nonopioid analgesics.25
         Reducing the number of opioids prescribed is only 1 facet of a much-needed, multipronged public
         health effort to reduce opioid-related harm38 and is unlikely to reduce the current high mortality rate
         from overdoses that are attributable to heroin and illicitly manufactured fentanyl.39 Nonetheless,
         further clarifying the limits of drug companies’ influence on physician prescribing should be a critical
         component of preventing the current crisis from worsening.




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         SUPPLEMENT.
         eTable 1. Characteristics of Counties According to Receipt of any Opioid Marketing in 2015
         eTable 2. Association of Pharmaceutical Company Opioid Marketing With Prescription Opioid Overdose Mortality
         Rates (Per 100,000 Person-Years) Across US Counties, After Using Multiple Imputation for Counties With Missing
         Opioid Prescribing Rates
         eTable 3. Association of Pharmaceutical Company Opioid Marketing With Opioid Prescribing Rates (Per 100
         Population) Across US Counties, After Using Multiple Imputation for Counties With Missing Opioid Prescribing
         Rates
         eTable 4. Mediation Analysis of Opioid Prescribing Rate as an Intermediate in the Association Between
         Pharmaceutical Company Opioid Marketing and Prescription Opioid Overdose Mortality Across US Counties After
         Using Multiple Imputation for Counties With Missing Opioid Prescribing Rates




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